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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                            December 27, 2023
                         UNITED STATES DISTRICT COURT
                                                                             Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


LAURA PYEATT, et al.,                        §
     Plaintiffs,                             §
                                             §
VS.                                          § CIVIL ACTION NO. 4:23-CV-03305
                                             §
DIVIDEND FIANCE INC.,                        §
      Defendant.                             §


                                   ORDER TO TRANSFER

       The parties having indicated on their joint discovery/case management plan their

consent to proceed before the magistrate judge, it is hereby ORDERED that this case is

reassigned to the docket of United States Magistrate Judge Andrew M. Edison to conduct

all further proceedings, including final judgment.

       The scheduling conference set for January 3, 2024 is CANCELLED.

       SIGNED at Houston, Texas on December 27, 2023.


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                                                         GEORGE C. HANKS, JR.
                                                     UNITED STATES DISTRICT JUDGE




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